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 1    ANTHONY P. CAPOZZI, CSBN: 068525
      LAW OFFICES OF ANTHONY P. CAPOZZI
 2    1233 W. SHAW AVE., SUITE 102
      FRESNO, CALIFORNIA 93711
 3    PHONE: (559) 221-0200
      FAX: (559) 221-7997
 4    EMAIL: Anthony@capozzilawoffices.com
      www.capozzilawoffices.com
 5
 6    ATTORNEY FOR Defendant,
      TOMMIE THOMAS
 7
 8
 9                                UNITED STATES DISTRICT COURT

10                               EASTERN DISTRICT OF CALIFORNIA

11                                              ******

12    UNITED STATES OF AMERICA,                         Case No.: 1:17-CR-00291 DAD-BAM
                                                                  1:17-CR-00295-1 DAD-BAM
13                  Plaintiff,                                    1:17-CR-00296-1 DAD-BAM
14
                                                        STIPULATION AND ORDER TO
15           v.                                         CONTINUE SENTENCING HEARING

16
                                                        Date: February 18, 2020
17    TOMMIE THOMAS,                                    Time: 10:00 a.m.
                                                        Courtroom: 5
18                  Defendant.                          Hon. Dale A. Drozd
19
20    TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
             ATTORNEY:
21
22           IT IS HEREBY STIPULATED by and between the parties hereto through their respective
23    counsel that the sentencing hearing in the above captioned matter now set for Tuesday, February
24    18, 2020, at 10:00 a.m. be continued to Monday, April 13, 2020, at 10:00 a.m. The parties also
25    agree that the Status Conferences regarding Dismissal currently set for February 18, 2020, in
26    related cases United States v. Tommie Thomas, 1:17-cr-00291-DAD and United States v. Tommie
27    Thomas, et al, 1:17-cr-00295-1-DAD be continued to April 13, 2020, at 10:00 am as well.
28           The parties also agree to file any replies and/or sentencing memoranda no later than
      March 30, 2020.


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 1           This request is made by defense counsel who needs additional time to review the
 2    Government’s lengthy Response to Defendant’s Formal Objections (Docket # 177) and
 3    Government’s Supplemental filing (Docket # 210) and discuss it with the Defendant.
 4    IT IS SO STIPULATED.
 5                                              Respectfully submitted,
 6     DATED:      February 12, 2020      By: /s/ Angela L. Scott
 7                                            ANGELA L. SCOTT
                                              Assistant United States Attorney
 8
 9
10     DATED:      February 12, 2020      By: /s/ Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
11                                            Attorney for Defendant TOMMIE THOMAS
12
13
14                                               ORDER

15           Based upon the stipulation of the parties and good cause appearing therefor, it is hereby

16    ORDERED that the date of the sentencing hearing of the defendant in the above-entitled case is

17    continued from Tuesday, February 18, 2020, at 10:00 a.m. to Monday, April 13, 2020, at 10:00

18    a.m. and the Status Conferences regarding Dismissal currently set for February 18, 2020, in

19    related cases United States v. Tommie Thomas, 1:17-cr-00291-DAD and United States v. Tommie

20    Thomas, et al, 1:17-cr-00295-1-DAD are continued to April 13, 2020, at 10:00 am as well. Any

21    replies and/or sentencing memoranda are due no later than March 30, 2020.

22
      IT IS SO ORDERED.
23
         Dated:    February 13, 2020
24
                                                         UNITED STATES DISTRICT JUDGE
25
26
27
28




                                                     2
